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                                       UNITED BANKRUPTCY COURT
                                       WESTERN DISTRICT OF TEXAS
                                            AUSTIN DIVISION

IN RE:                                                  '
                                                        '                            CASE NO. 21-10224-TMD
Humberto Bonelly Labrada                                '
                                                        '                                           CHAPTER 7
         Debtor                                         '

                             MOTION TO CONVERT CASE TO CHAPTER 13

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE OF SAID COURT:

This pleading requests relief that may be adverse to your interests.

If no timely response is filed within 21 days from the date of service, the relief requested herein may be
granted without a hearing being held.

A timely filed response is necessary for a hearing to be held.

       Humberto Bonelly Labrada, Debtor, files this Motion to Convert to Chapter 13 and respectfully show
this Court the following:

1.       The Debtor filed a voluntary petition under Chapter 7 of the Bankruptcy Code on March 30, 2021. A
         trustee was appointed and a meeting of creditors was held on May 6, 2021 with reset meetings on May
         27, 2021, June 17, 2021, and July 8, 2021. No prior conversion has been entered in this case pursuant to
         sections 706 or 1112 or 1207 of the Bankruptcy Code.

2.       Debtor agreed to and signed a Waiver of Discharge on July 19, 2021 (Doc#34). Debtor wishes to
         convert this case to a Chapter 13 and pay all claims 100%.

3.       The Debtor is eligible under section 109 of the Bankruptcy code to be Debtor under Chapter 13.

         WHEREFORE, the Debtor respectfully requests that this case be converted to a Chapter 13.

                                                     Respectfully submitted,

                                                     LAW OFFICE OF MICHAEL BAUMER
                                                     7600 Burnet Road
                                                     Suite 530
                                                     Austin, TX 78757
                                                     512-476-8707
                                                     Fax 512-476-8604
                                                     baumerlaw@baumerlaw.com


                                                     By:/s/Michael Baumer
                                                      Michael Baumer -01931920
                                                      Megan Baumer-01931915
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                                                    CERTIFICATE OF SERVICE

I, the above signed, do hereby certify that a true and correct copy of the foregoing document was served via first class mail (unless
otherwise indicated below) to the following parties in interest:

Amex                                             Discover
P.o. Box 981537                                  Pob 15316                                        Portfolio Recov Assoc
El Paso, TX 79998                                Wilmington, DE 19850                             120 Corporate Blvd Ste 100
                                                                                                  Norfolk, VA 23502
Barclays Bank Delaware                           East Harbor Financial
P.o. Box 8803                                    12360 NW South River Drive Ste B                 Reliant Towing
Wilmington, DE 19899                             Miami, FL 33178                                  1000 Slaughter Creek Dr
                                                                                                  Austin, Tx 78748
Becket & Lee, LLP                                Financial Pacific Leasing
PO Box 3002                                      3455 S 344th Way STE 300                         San Paloma Apartments
Malvern, PA 19355-0702                           Federal Way, WA 98001                            12501 Tech Ridge Blvd
                                                                                                  Austin, TX 78753
Capital One Bank                                 Freedom Trucking
Po Box 31293                                     12221 Merit Drive                                Synchrony Bank
Salt Lake City, UT 84131                         Dallas, TX 75251                                 Att: Bankruptcy Department
                                                                                                  PO Box 965060
Cavalry Portfolio Serv                           Humberto Bonelly Labrada                         Orlando, FL 32896-5060
500 Summit Lake Drive                            12501 Tech Ridge Blvd, #221
Valhalla, NY 10595                               Austin, TX 78753                                 Transport Funding
                                                                                                  8717 W 110th St #700
Chase                                            Ironwood Finance, Inc                            Overland Park, KS 66210
Po Box 15369                                     800 North Shoreline Blvd $1500s
Wilmington, DE 19850                             Corpus Christ, Tx 78401                          University Federal Credit Union
                                                                                                  Po Box 9350
Citi                                             Merrick Bank Corp                                Austin, TX 78766
Po Box 6217                                      Po Box 9201
Sioux Falls, SD 57117                            Old Bethpage, NY 11804

Conn Appliances Inc                              Midland Credit Management
Box 2358                                         320 East Big Beaver
Beaumont, TX 77704                               Troy, MI 48083



and via electronic notice to the following registered CMECF users:

US Trustee                                                               Hayward PLLC
903 San Jacinto                                                          Jamie Kirk & Mark Newton
Austin, TX 78701                                                         10501 N. Central Expressway #106
                                                                         Dallas, TX 75231
Ron Satija, Trustee
PO Box 660208                                                            Christopher V. Arisco
Austin, TX 78766                                                         PADFIELD & STOUT, L.L.P.
                                                                         420 Throckmorton Street, Suite 1210
                                                                         Fort Worth, Texas 76102




Dated: August 18, 2021
